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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY




RONALD T. MCKELVEY                              :
                                                :                Civil Action No. 14-2382 (SDW)
                    Plaintiff (s)               :
                                                :
                v.                              :
                                                :                      ORDER OF DISMISSAL
PHD VIRTUAL TECHNOLOGIES, INC.                  :
                                                :
                    Defendant(s)                :
________________________________________________:


       It has been reported to the Court that the above-captioned matter has been settled,

       It is on this 26TH day of August, 2014

       ORDERED that this action is hereby dismissed without prejudice and without costs,

subject to the right of the parties upon good cause shown within 60 days, to reopen the action if the

settlement is not consummated. The terms of the settlement agreement are incorporated herein by

reference and the Court shall retain jurisdiction over the settlement agreement to enforce its terms.




                                                      /s/ Susan D. Wigenton
                                                      UNITED STATES DISTRICT JUDGE
